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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA
WILLIAM J. NEALON FEDERAL BLDG. & U.S. COURTHOUSE
235 N. WASHINGTON AVE., P.O. BOX 30
SCRANTON, PA 18501-0030

 

ROBERT D. MARIANI . TEL (570) 207-5750
JUDGE FAX (570) 207-5759

January 13, 2021

Kevin M. Conaboy, Esq.

Abrahamsen, Conaboy & Abrahamsen
1006 Pittston Ave.

Scranton, PA 18505

Ryan Blazure, Esq.

Thomas, Thomas & Hafer, LLP
Cross Creek Pointe

1065 Highway 315, Suite 205
Wilkes-Barre, PA 18702

Re: Kreig v. Walmart Stores, Inc.
Case No. 21-CV-0074

Dear Counsel:

The above-referenced action has been assigned to me. In accordance with
Rule 1 of the Federal Rules of Civil Procedure, it is both my responsibility, as well as the obligation of
counsel, to strive for the "just, speedy, and inexpensive determination” of this case.

Consistent with these goals, it is my intention to conduct a Case Management Conference
within four (4) months of the filing of the complaint. At this conference, we will discuss any pending
motions, settlement, deadlines for discovery and other pre-trial activities, as well as other pertinent
matters. The order scheduling the conference will inform the parties in more detail of what is required in
preparation for this conference. In the meantime, the parties are expected to comply with the mandatory
disclosure requirements of Rule 26(a) of the Federal Rules of Civil Procedure.
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To ensure that the Case Management Conference is conducted in a timely manner, you
are directed to file a written report within thirty (30) days as to whether service has been effected or a
waiver of service obtained. The report will not be required if an affidavit of service has been filed within
that time period. In addition, you are advised to refrain from entering into agreements for extensions of
time for filing an answer or other responsive pleading to the complaint without court approval.

The Court has implemented an "Electronic Case Filing (ECF)" system. This system
enables counsel to file and docket pleadings, motions, briefs, etc, directly from their offices via the
internet. Information on the Court's ECF system can be obtained at the Court's website,
www.pamd.uscourts.gov. Counsel are directed to familiarize themselves with the Court’s ECF system.

Any inquiries you have concerning this case and its progress should be directed to Judith A.
Malavé, Courtroom Deputy, Federal Building, P.O. Box 30, Scranton, PA 18501, phone number (570)
207-5756.

  

Muale

Robért D. Mariani ~
United States District Judge
